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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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JARRETT PAYNE, ANDIE MALI, CAMILA GINI, VIDAL
GUZMAN, VIVIAN MATTHEW KING-YARDE, CHARLIE                                       STIPULATION AND
MONLOUIS-ANDERLE, JAMES LAUREN, MICAELA                                          ORDER OF DISMISSAL
MARTINEZ, JULIAN PHILLIPS, NICHOLAS MULDER and
COLLEEN MCCORMACK-MAITLAND,                                                      20CV08924 (CM) (GWG)

                                                                Plaintiffs,

                                 -against-

MAYOR BILL DE BLASIO, CHIEF OF DEPARTMENT
TERENCE MONAHAN, CITY OF NEW YORK,
COMMANDING OFFICER OF PATROL BOROUGH
BRONX, CHIEF KENNETH LEHR, SERGEANT MAJER
SALEH, OFFICER BRYAN S. ROZANSKI, OFFICER
JAKUB TARLECKI, SERGEANT KEITH CHENG,
OFFICER MATTHEW TARANGELO, OFFICER
STEPHANIE CHEN, OFFICER TAYLOR CORCORAN,
OFFICER MATTHEW L. PERRY, DETECTIVE DAMIAN
RIVERA, OFFICER BRYAN PIZZIMENTI, OFFICER
JOSEPH DECK, LIEUTENANT MICHAEL BUTLER,
OFFICER AARON HUSBANDS, SERGEANT THOMAS E.
MANNING, OFFICERS JOHN DOE 1-26, OFFICER JANE
DOE 1, OFFICER DOE ESPOSITO and OFFICER
HENSLEY CARABALLO,


                                                              Defendants.
---------------------------------------------------------------------------- X


                  WHEREAS, the parties have reached a settlement agreement and now desire to

resolve plaintiffs’ damages claims without further proceedings and without admitting any fault or

liability; and


                  WHEREAS, the plaintiffs’ remaining claims for injunctive relief are not affected

by this Stipulation.
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               NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and

between the undersigned, that

       1.      The plaintiffs’ claims for damages in the above-captioned action are hereby

   dismissed with prejudice; and

       2.      The plaintiffs’ remaining claims for injunctive relief are not affected by this

   Stipulation.

       3.      Notwithstanding the dismissal of the plaintiffs’ claims for damages in this action in

   accordance with this Stipulation of Settlement, the District Court shall continue to retain

   jurisdiction over this action for the purpose of enforcing the terms of this settlement agreement

   reached between the parties and set forth in this Stipulation of Settlement executed by the

   parties in this matter.




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Dated: New York, New York
       May 8, 2024


NEW YORK CIVIL LIBERTIES UNION             HON. SYLVIA O. HINDS-RADIX
FOUNDATION                                 Corporation Counsel of the
Attorneys for Plaintiffs                          City of New York
125 Broad Street, 19th Floor               Attorney for Defendants City of New York,
New York, New York 10004                      De Blasio, Monahan, Lehr, Rozanski,
(212) 607-3300                                Tarlecki, Cheng, Tarangelo, Chen,
                                              Corcoran, Perry, Rivera, Pizzimenti,
                                              Deck, Butler, Husbands, Manning, and
                                              Caraballo
                                           100 Church Street, 3rd Floor
                                           New York, New York 10007
By: ______________________________   By:   ___________________________________
    Molly K. Biklen                        Omar J. Siddiqi
                                           Senior Counsel

                                           The Quinn Law Firm, PLLC
The Legal Aid Society
                                           Attorneys for Defendant Majer Saleh
Attorneys for Plaintiffs
199 Water Street                           399 Knollwood Road, Suite 220
New York, New York 10038                   White Plains, New York 10603
                                           (914) 997-0555
(212) 577-3367
                                           By: ______________________________
By: ______________________________
                                                Marykate Acquisto
    Philip Desgranges



                                           SO ORDERED:



                                           HON. COLLEEN MCMAHON
                                           UNITED STATES DISTRICT JUDGE

                                           Dated: _______________, 2024




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------------- X

JARRETT PAYNE, ANDIE MALI, CAMILA GINI, VIDAL
GUZMAN, VIVIAN MATTHEW KING-YARDE,                                              STIPULATION OF
CHARLIE MONLOUIS-ANDERLE, JAMES LAUREN,                                         SETTLEMENT
MICAELA MARTINEZ, JULIAN PHILLIPS, NICHOLAS
MULDER and COLLEEN MCCORMACK-MAITLAND,                                          20CV08924 (CM) (GWG)

                                                               Plaintiffs,

                                -against-

MAYOR BILL DE BLASIO, CHIEF OF DEPARTMENT
TERENCE MONAHAN, CITY OF NEW YORK,
COMMANDING OFFICER OF PATROL BOROUGH
BRONX, CHIEF KENNETH LEHR, SERGEANT MAJER
SALEH, OFFICER BRYAN S. ROZANSKI, OFFICER
JAKUB TARLECKI, SERGEANT KEITH CHENG,
OFFICER MATTHEW TARANGELO, OFFICER
STEPHANIE CHEN, OFFICER TAYLOR CORCORAN,
OFFICER MATTHEW L. PERRY, DETECTIVE DAMIAN
RIVERA, OFFICER BRYAN PIZZIMENTI, OFFICER
JOSEPH DECK, LIEUTENANT MICHAEL BUTLER,
OFFICER AARON HUSBANDS, SERGEANT THOMAS E.
MANNING, OFFICERS JOHN DOE 1-26, OFFICER JANE
DOE 1, OFFICER DOE ESPOSITO and OFFICER
HENSLEY CARABALLO,


                                                             Defendants.
--------------------------------------------------------------------------- X


                 WHEREAS, plaintiffs commenced this action by filing a complaint on October 26,

2020, a First Amended Complaint on March 5, 2021, and a Corrected Second Amended Complaint

on April 25, 2023, alleging that the defendants violated the plaintiffs’ federal and state law rights;

and

                 WHEREAS, plaintiffs allege they have suffered physical injuries from the

incidents described in the Second Amended Complaint; and
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               WHEREAS, on July 10, 2023, defendant Majer Saleh filed a cross-claim against

defendant City of New York; and

               WHEREAS, defendants City of New York, Mayor Bill De Blasio, Chief of

Department Terence Monahan, Commanding Officer of Patrol Borough Bronx, Chief Kenneth

Lehr, Officer Bryan Rozanski, Officer Jakub Tarlecki, Sergeant Keith Cheng, Officer Matthew

Tarangelo, Officer Stephanie Chen, Officer Taylor Corcoran, Officer Matthew Perry, Detective

Damian Rivera, Officer Bryan Pizzimenti, Officer Joseph Deck, Lieutenant Michael Butler,

Officer Aaron Husbands, Sergeant Thomas Manning, and Officer Hensley Caraballo have denied

any and all liability arising out of the plaintiffs’ allegations in the above-captioned action; and

               WHEREAS, defendant Sergeant Majer Saleh has denied any and all liability

arising out of the plaintiffs’ allegations in the above-captioned action; and

               WHEREAS, defendant City of New York denies any and all liability arising out

of defendant Majer Saleh’s cross-claims; and

               WHEREAS, pursuant to the Stipulation and Order of Voluntary Dismissal with

Prejudice dated May 8, 2024, plaintiffs have agreed to voluntarily discontinue their

claims against defendant Sergeant Majer Saleh with prejudice (Dkt # 1170); and

               WHEREAS, pursuant to the Stipulation and Order of Voluntary Dismissal with

Prejudice   dated    May    8,   2024,    defendant    Sergeant    Majer    Saleh     has   agreed    to

voluntarily discontinue his cross-claims against defendant City of New York with prejudice

(Dkt #1170); and

               WHEREAS, the parties now desire to resolve plaintiffs’ damages claims without

further proceedings and without admitting any fault or liability; and




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                WHEREAS, the plaintiffs’ remaining claims for injunctive relief are not affected

by this Stipulation; and

                WHEREAS, plaintiffs’ counsel represent that the plaintiffs have assigned all of

their rights to attorneys’ fees, expenses, and costs to their counsels New York Civil Liberties Union

Foundation and The Legal Aid Society; and

                WHEREAS, the parties have separately entered into an memorandum of

understanding dated April 30, 2024 with respect to attorneys’ fees and costs for plaintiffs’ claims

for injunctive relief; and

                WHEREAS, plaintiffs have authorized their counsel to settle their claims for

damages under the terms of this Stipulation of Settlement set forth below;

                NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and

between the undersigned, the attorneys of record for the respective parties to the above-captioned

action, as follows:

                1.      Plaintiffs’ damage claims in the above-captioned action are hereby

dismissed against defendants, with prejudice, and without costs, expenses, or attorneys’ fees

except as specified in paragraphs “2” and “4” below.

                2.      Defendant City of New York hereby agrees to pay plaintiff Jarrett Payne

the sum of One Hundred Forty-Five Thousand ($145,000.00) Dollars; plaintiff Andie Mali the

sum of Fifteen Thousand ($15,000.00) Dollars; plaintiff Camila Gini the sum of Seventeen

Thousand Five Hundred ($17,500.00) Dollars; plaintiff Vidal Guzman the sum of Seventeen

Thousand Five Hundred ($17,500.00) Dollars; plaintiff Vivian Matthew King-Yarde the sum of

Thirty-Five Thousand ($35,000.00) Dollars; plaintiff Charlie Monlouis-Anderle the sum of One

Hundred Seventy-Five Thousand ($175,000.00) Dollars; plaintiff Nicholas Mulder the sum of




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Twenty-Seven Thousand Five Hundred ($27,500.00) Dollars; plaintiff Colleen McCormack-

Maitland the sum of Fifteen Thousand ($15,000.00) Dollars; plaintiff James Lauren the sum of

Twenty-One Thousand Five Hundred ($21,500.00) Dollars; plaintiff Micaela Martinez the sum of

Twenty-One Thousand Five Hundred ($21,500.00) Dollars and plaintiff Julian Phillips the sum of

Twenty-One Thousand Five Hundred ($21,500.00) Dollars in full satisfaction of all damage

claims, including claims for costs, expenses, and attorneys’ fees that were or could have been

alleged in the aforementioned action as set forth herein.

               3.   Plaintiffs have assigned      all of their rights to      attorneys’ fees,    expenses,   and

costs to their counsels New York Civil Liberties Union Foundation and The Legal Aid Society.

               4.   Defendant City of New York hereby agrees to pay plaintiffs’ counsel New

York Civil Liberties Union Foundation the sum of 1,004,757.70 Dollars and plaintiffs’ counsel

the Legal Aid Society the sum of 598,542.30 Dollars in full satisfaction of plaintiffs’ claims for

attorneys’ fees, expenses, and costs with respect to their damage claims.

               5.   In consideration for the payment of these sums specified in Paragraph “2” and

“4”, the plaintiffs and their counsel agree to dismissal of all the damages claims in the above-

captioned matter against the defendants, with prejudice, and to release and discharge defendants

City of New York, Mayor De Blasio, Chief of Department Monahan, Commanding Officer of

Patrol Borough Bronx, Chief Lehr, Officer Rozanski, Officer Tarlecki, Sergeant Cheng, Officer

Tarangelo, Officer Chen, Officer Corcoran, Officer Perry, Detective Rivera, Officer Pizzimenti,

Officer Deck, Lieutenant Butler, Officer Husbands, Sergeant Manning, and Officer Caraballo;

their successors or assigns; and all past and present officials, employees, representatives, and

agents of the City of New York or any entity represented by the Office of the Corporation Counsel,

from any and all liability, claims, or rights of action, or related state law claims, that plaintiffs




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have, had, or may have arising from allegations set forth in the complaint in this proceeding,

whether known or unknown, including claims for costs, expenses, and attorneys’ fees, except for

injunctive claims not affected by this Stipulation.

               6.      Each Plaintiff shall execute and serve on the City of New York’s attorney

by legal tender (either by personal service or certified mail) at 100 Church Street, New York, New

York 10007 all documents necessary to effect this settlement based on the terms of paragraphs “2”

and “3” above, including, without limitation, a General Release, IRS Form W-9, and an Affidavit

of Status of Liens. Prior to tendering the requisite documents to effect this settlement, Medicare-

recipient plaintiffs must obtain and submit a final demand letter from their Medicare provider(s)

for the reimbursement of any conditional payments made for the injuries claimed in this matter.

A Medicare Set-Aside Trust may also be required if future anticipated medical costs are found to

be necessary pursuant to 42 U.S.C. § 1395y(b) and 42 C.F.R. §§ 411.22 through 411.26.

               7.      Nothing contained herein shall be deemed to be an admission by the

defendants that they have in any manner or way violated plaintiffs’ rights, or the rights of any other

person or entity, as defined in the constitutions, statutes, ordinances, rules or regulations of the

United States, the State of New York, or the City of New York or any other rules or regulations of

any department or subdivision of the City of New York. This stipulation shall not be admissible

in, nor is it related to, any other litigation or settlement negotiations, except to enforce the terms

of this agreement.

               8.      Nothing contained herein shall be deemed to constitute a policy or practice

of the City of New York or any agency thereof.

               9.      Plaintiffs agree to hold harmless defendants regarding any past and/or future

Medicare claims, presently known or unknown, in connection with this matter. If Medicare claims




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are not satisfied, defendants reserve the right to issue a multiparty settlement check naming the

Medicare provider as a payee or to issue a check directly to the Medicare provider for the amount

claimed in the Medicare provider’s final demand letter.

               10.     This Stipulation of Settlement contains all the terms and conditions agreed

upon by the parties hereto regarding the plaintiffs’ damages claims, and no oral agreement entered

into at any time nor any written agreement entered into prior to the execution of this Stipulation of

Settlement regarding the subject matter of the instant proceeding shall be deemed to exist, or to

bind the parties hereto, or to vary the terms and conditions contained herein.

  Dated: New York, New York
         May 8 , 2024


 NEW YORK CIVIL LIBERTIES UNION                         HON. SYLVIA O. HINDS-RADIX
 FOUNDATION                                             Corporation Counsel of the
 Attorneys for Plaintiffs                                      City of New York
 125 Broad Street, 19th Floor                           Attorney for Defendants City of New York,
 New York, New York 10004                                  De Blasio, Monahan, Lehr, Rozanski,
 (212) 607-3300                                            Tarlecki, Cheng, Tarangelo, Chen,
                                                           Corcoran, Perry, Rivera, Pizzimenti,
                                                           Deck, Butler, Husbands, Manning, and
                                                           Caraballo
                                                        100 Church Street, 3rd Floor
                                                        New York, New York 10007


 By: ______________________________              By:    ___________________________________
     Molly K. Biklen                                    Omar J. Siddiqi
                                                        Senior Counsel

 The Legal Aid Society
 Attorneys for Plaintiffs                               The Quinn Law Firm, PLLC
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 (212) 577-3367                                         White Plains, New York 10603
                                                        (914) 997-0555

 By: ______________________________
     Philip Desgranges                                  By: ______________________________
                                                             Marykate Acquisto

                                                 6
